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                         UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF Northern California
             Form 1. Notice of Appeal from a Judgment or Order of a
                           United States District Court
U.S. District Court case number:               4:20-cv-05640-YGR
      Notice is hereby given that the appellant(s) listed below hereby appeal(s) to
the United States Court of Appeals for the Ninth Circuit.

Date case was first filed in U.S. District Court: 08/13/2020

Date of judgment or order you are appealing:                     04/30/2025

Docket entry number of judgment or order you are appealing:                               1508
Fee paid for appeal? (appeal fees are paid at the U.S. District Court)
   Yes         No           IFP was granted by U.S. District Court
List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)
  Apple Inc.




Is this a cross-appeal?          Yes            No
If yes, what is the first appeal case number?
Was there a previous appeal in this case?                    Yes            No
If yes, what is the prior appeal case number?                     21-16506; 21-16695
Your mailing address (if pro se):




City:                                         State:                  Zip Code:

Prisoner Inmate or A Number (if applicable):

Signature       /s/ Mark A. Perry                                       Date May 5, 2025
     Complete and file with the attached representation statement in the U.S. District Court
                    Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 1                                                                                           Rev. 06/09/2022
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                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
                        Form 6. Representation Statement
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
Name(s) of party/parties:
Apple Inc.


Name(s) of counsel (if any):
Mark A. Perry, Weil, Gotshal & Manges LLP
Joshua M. Wesneski, Weil, Gotshal & Manges LLP


Address: 2001 M Street NW, Suite 600, Washington, DC 20036
Telephone number(s): (202) 682-7000
Email(s): mark.perry@weil.com; joshua.wesneski@weil.com
Is counsel registered for Electronic Filing in the 9th Circuit?                            Yes         No

Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
separately represented parties separately.)
Name(s) of party/parties:
Epic Games, Inc.


Name(s) of counsel (if any):
Gary A. Bornstein, Cravath, Swaine & Moore LLP
Yonatan Even, Cravath, Swaine & Moore LLP


Address: 375 Ninth Avenue, New York, New York 10001
Telephone number(s): (212) 474-1000
Email(s): gbornstein@cravath.com; yeven@cravath.com


To list additional parties and/or counsel, use next page.
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                                1                                         New 12/01/2018
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Continued list of parties and counsel: (attach additional pages as necessary)
Appellants
Name(s) of party/parties:
Apple Inc.

Name(s) of counsel (if any):
Cynthia E. Richman, Gibson, Dunn & Crutcher LLP


Address: 1700 M Street, N.W., Washington, DC 20036-4504
Telephone number(s): (202) 955-8500
Email(s): crichman@gibsondunn.com
Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes      No
Appellees
Name(s) of party/parties:
Epic Games, Inc.

Name(s) of counsel (if any):
Lauren Moskowitz


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Email(s): LMoskowitz@cravath.com
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
                  Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                               2                                         New 12/01/2018
